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                                                                              U.S. DISTRICT COURT
                                                                                  AUGUSTA DiV.
                      IN THE UNITED STATES DISTRICT COURT
                                                                              2019HftY28 PH3:38
                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     DUBLIN DIVISION                                             GA

MICHAEL DERRICK GOINS,

              Petitioner,

       V.                                                  CV 319-031
                                                            (Formerly CR 314-002)
UNITED STATES OF AMERICA,

               Respondent.




                                          ORDER




       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed.' (Doc. no. 5.)

The arguments concerning equitable tolling and waiver do not change the analysis because,

as the Magistrate Judge explained, Petitioner's motion filed pursuant to 28 U.S.C.

§ 2255 is successive and has not been authorized by the Eleventh Circuit Court of Appeals

for consideration. (See doc. no. 2.) Accordingly, the Court OVERRULES Petitioner's

objections, ADOPTS the Report and Recommendation of the Magistrate Judge as its




       'The docket reflects a "resubmission" of Petitioner's original § 2255 motion after entry of
the R&R. (Doc. no. 4.) However, it is clear from the May 6, 2019 signature on the
resubmission, (id. at 13), Petitioner had not received the May 3, 2019 Report and
Recommendation at the time he "resubmitted" his original motion. As the resubmission does not
raise any different grounds for relief from the original motion, the Court does not consider the
resubmission as an additional objection to those filed by the Clerk of Court on May 20, 2019,
(doc. no. 5).
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opinion, and DISMISSES the § 2255 motion on the basis that it is successive and has not

been authorized by the Eleventh Circuit Court of Appeals for consideration.

       Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing ofthe denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDanieh 529 U.S. 473, 482-84 (2000), Petitioner has

failed to make the requisite showing. Accordingly, the Court DENIES a COA in this case.^
Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal in forma pauperis.

See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court CLOSES this civil action.

       SO ORDERED this              day of May,2019, at Augusta, Georgia.




                                    UNITED STATES DISTRICT JUDGE




       ^"If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2255 Proceedings.
